
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Mariano Ospina appeals from the district court’s order dismissing his complaint against Indy Mac Bank in which he attempted to allege fraud and illegal conduct by Indy Mac during Ospina’s bankruptcy proceedings. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Ospina v. Indy Mac Bank, 3:08-cv-00452-GCM (W.D.N.C. Oct. 7, 2008). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials be*145fore the court and argument would not aid the decisional process.

AFFIRMED.

